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                    IN THE UNITED STATES DISTRICT COURT
                   FOR THE EASTERN DISTRICT OF VIRGINIA
                               Richmond Division                             L      IS    I??
                                                                      MAR I 920«
MARK E.    PEHANICH,
                                                                  CLERK, U.S. DISTRICT COURT
                                                                        RICHMONn
       Plaintiff,

V.                                           Civil Action No.   3:18cvl03

MEDICAL DATA SYSTEMS,        INC.,
t/a MEDICAL REVENUE SERVICE,
et al.,

       Defendants.


                                     ORDER


       Having considered the UNOPPOSED MOTION TO EXTEND TIME FOR

DEFENDANTS TO RESPOND TO PLAINTIFF'S COMPLAINT (ECF No. 9) , and there

being no objection by the plaintiff thereto, it is hereby ORDERED

that the UNOPPOSED MOTION TO EXTEND TIME FOR DEFENDANTS TO RESPOND

TO PLAINTIFF'S COMPLAINT {ECF No. 9)            is granted.     It is further

ORDERED that the defendants. Professional Account Services, Inc. and

Petersburg Hospital Company, LLC, a/k/a Southside Regional Medical

Center, shall file their Answers and any other motions with respect

to the Complaint by April 3, 2018.

       I t i s so ORDERED.



                                                       /s/
                                     Robert E. Payne
                                     Senior United States District Judge


Richmond, Virginia
Date: March /^, 2018
